          Case 1:20-cv-10832-AT-SN Document 80 Filed 03/24/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     3/24/2021


SECURITIES AND EXCHANGE COMMISSION,

                                            Plaintiff,                 20-CV-10832 (AT)(SN)

                          -against-                                            ORDER

RIPPLE LABS, INC., et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         A telephonic discovery conference is scheduled for Tuesday, April 6, 2021, at 2:00 p.m.,

to discuss the Defendants’ joint motion to compel. See ECF No. 67. Members of the public

interested in listening to the conference should dial (877) 402-9757 and enter Access Code

7938632, followed by the pound (#) key. A dial-in number will be circulated to the parties

before the conference.

        Separately, several unauthorized recordings were made of the previous discovery

conference. The parties and the public are reminded that, pursuant to S.D.N.Y. Local Civil Rule

1.8(b), “no one other than Court officials engaged in the conduct of Court business shall . . .

make an audio or video recording of any proceeding or any communication with the Court, an

employee of the Court or any person acting at the direction of the Court, including a mediator.”

SO ORDERED.




DATED:           March 24, 2021
                 New York, New York
